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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                    LAKE CHARLES DIVISION


ROSALINA AYUYU DALAL                                        CASE NO. 2:20-CV-00144

VERSUS                                                      JUDGE JAMES D. CAIN, JR.

UNITED SPECIALTY INSURANCE CO ET AL                         MAGISTRATE JUDGE KAY

                                               JUDGMENT

        Pursuant to the Memorandum Ruling of this date,

        IT IS ORDERED, ADJUDGED AND DECREED that the Motion for Summary Judgment

(Doc. 44) filed by Marisa Kay Morrill, Daniel Braunstein, David Braunstein, Donald Braunstein,

Michael Cruz and Christopher T. Lewis, is hereby granted in Plaintiffs’ favor as to the following:

Defendant Porter is solely at fault in the collision; Defendant Porter was within the course and scope

of his employment; the policy issued by United Specialty provides coverage for $1,000,000.00 dollars

including legal interest and court costs; and at the time of the collision, Mrs. Rosalina Ayuyu Dalal

was insured for automobile liability by the Nationwide Property and Casualty Company.

        However, as noted by the Stipulation, because Defendants dispute any connection between

Plaintiff’s alleged injuries and the incident, Plaintiffs bear the burden at trial to prove that their alleged

injuries were caused by the collision.

        THUS DONE AND SIGNED in Chambers on this 17th day of September, 2021.



                            _______________________________________
                                      JAMES D. CAIN, JR.
                               UNITED STATES DISTRICT JUDGE
